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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                                           )
HEALTHY FUTURES OF TEXAS, individually and )
on behalf of all other similarly situated, )
                                           )
      Plaintiff,                           )
                                           ) Civil Action No. 1:18-cv-00992
                v.                         )
                                           )
DEPARTMENT OF HEALTH AND HUMAN             )
SERVICES, et al.,                          )
                                           )
      Defendants.                          )
                                           )


DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR
    SUMMARY JUDGMENT AND IN SUPPORT OF THEIR CROSS-MOTION
             TO DISMISS OR FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       Plaintiff, a participant in the Teen Pregnancy Prevention Program (“TPP Program”),

learned in July of 2017 that the United States Department of Health & Human Services (“HHS”)

had chosen not to give it a continuation award for FY 2018 and FY 2019. But it chose to wait

nearly ten months before filing this complaint, even though other TPP Program grantees filed

suit in February of this year to challenge HHS’s decision. Now, just over ten weeks after those

lawsuits were filed, Plaintiff has sued to vacate the July 2017 decision and to require HHS to

now process applications for continuation awards on behalf of itself and a putative class of other

grantees. This delay is both unreasonable and unexplained by Plaintiff. HHS would be seriously

prejudiced if Plaintiff’s late-breaking request for relief were to be granted; the agency has

invested significant resources in evaluating the TPP Program and developing a new competitive

funding opportunity announcement (“FOA”), which was publicly announced before Plaintiff

filed suit. Plaintiff’s untimely claims are barred by laches and should be dismissed.

       Plaintiff’s claim also fails on the merits. As this Court acknowledged, an agency’s

decisions regarding the allocation of grant funding are presumptively committed to agency

discretion as a matter of law. But Plaintiff reads HHS regulations to all but eliminate that

discretion, except in narrow circumstances where they permit “termination” of a grant. That

reading forecloses HHS from ending annual awards of continuation funding for programmatic

reasons, such as advances in science, or policy changes within the bounds of the authorizing

statutes, across all of the grant programs it manages. Just as troubling, it puts HHS regulations at

odds with the Anti-Deficiency Act (“ADA”), which protects the prerogatives of Congress and

the public fisc by forbidding federal departments from committing federal funds before they are

appropriated. It also contradicts the grant documents, which align with the ADA by limiting



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funding to one-year periods. Plaintiff agreed to the terms of those documents when it drew down

its letter of credit for a third year of TPP Program funding.

           Accordingly, the Court should deny Plaintiff’s motion and dismiss Plaintiff’s complaint

with prejudice or, in the alternative, enter judgment in HHS’s favor on Plaintiff’s claims.

                                            STATEMENT OF FACTS

           In 2010, Congress appropriated $110 million to HHS to administer the TPP Program.1

Congress renewed this funding in March 2018. Consolidated Appropriations Act, 2018, Pub. L.

No. 115-141, https://www.congress.gov/115/bills/hr1625/BILLS-115hr1625enr.pdf. Congress

funded the TPP Program for making “competitive contracts and grants.” Id. (emphasis added).

           After five years of administering the program, HHS issued new Funding Opportunity

Announcements (“FOAs”) for the TPP Program in 2015. The FOAs announced HHS would

fund TPP awards using a one year “budget period”—that is, awarding one year of funds at a

time—and a “project period” of “up to five years,” subject to future appropriations, compliance

with grant terms and conditions, and HHS’s discretion over whether to continue awards or issue

a new competition. See, e.g., Decl. of Michael J. Gerardi (“Gerardi Decl.”), Ex. A, Tier 1A

Funding Opportunity Announcement, Office of Adolescent Health, Department of Health and



1
    The original appropriation makes funds available for

       [C]ompetitive contracts and grants to public and private entities to fund medically accurate and age appropriate
       programs that reduce teen pregnancy and for the Federal costs associated with administering and evaluating
       such contracts and grants, of which not less than $75,000,000 shall be for replicating programs that have been
       proven effective through rigorous evaluation to reduce teenage pregnancy, behavioral risk factors underlying
       teenage pregnancy, or other associated risk factors, of which not less than $25,000,000 shall be available for
       research and demonstration grants to develop, replicate, refine, and test additional models and innovative
       strategies for preventing teenage pregnancy, and of which any remaining amounts shall be available for training
       and technical assistance, evaluation, outreach, and additional program support activities: Provided further, That
       of the amounts provided under this heading from amounts available under section 241 of the PHS Act,
       $4,455,000 shall be available to carry out evaluations (including longitudinal evaluations) of teenage pregnancy
       prevention approaches[.]

Consolidated Appropriations Act, 2010, Pub. L. No. 111-117, 123 Stat. 3034, 3253 (2009).

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Human Services, at 35 (2015). The FOAs thus did not guarantee funding for any year beyond

the first year of award. Rather, the FOAs stated that for “[e]ach year of the approved project

period, grantees are required to submit a noncompeting application which includes a progress

report for the current budget year, and work plan, budget and budget justification for the

upcoming year.” Id. at 72. The FOAs also explained that “recipients must comply with all terms

and conditions outlined in their grant awards, the Department of Health and Human Services

(HHS) Grants Policy Statement, requirements imposed by program statutes and regulations and

HHS grant administration regulations, as applicable, as well as any requirements or limitations in

any applicable appropriations acts.” Id. at 68.

       Plaintiff, a participant the TPP Program, received its first notices of award in the summer

of 2015, which included a budgeted award of financial assistance for one year only (July 1, 2015

to June 30, 2016), along with “recommended future support” for subsequent budget years. See,

e.g., Decl. of Dr. Janet Realini (“Realini Decl.”), ECF No. 6-1, Ex. A, Notice of Award for 2015-

16, at 1. Awards for subsequent budget periods were explicitly denominated “Non-Competing

Continuation” awards. See, e.g., Realini Decl., Ex. B, Notice of Award for 2016-17, at 1.

Consistent with the FOAs, the awards indicated that future years of funding were contingent on

HHS approval. Specifically, they stated that grantees must “comply with all terms and

conditions outlined in the grant award, including grant policy terms and conditions contained in

applicable [HHS] Grants Policy Statements,” and then hyperlinked to those policies on HHS’s

website. Id. at 5. The awards also stated that grantees accept the terms and conditions of the

grant award by drawing down their award money. Id. at 1.

       In the Grants Policy Statement (“GPS”) incorporated into those awards, HHS repeatedly

declares that continuation awards beyond the current budget year are contingent on the agency’s



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discretionary decision to issue them. It further provides that this discretionary determination is

based in part on its assessment of whether government interests have changed such that future

funds should be recompeted. When describing the “project period” system, the GPS states that

although “project periods” may “indicat[e] the [operating division’s] intention to provide

continued financial support beyond the budget period,” such projections:

       are contingent on satisfactory progress, the availability of funds, and the
       continued best interest of the Federal government. They are not guarantees that
       the project or program will be funded or will be funded at those levels, and they
       create no legal obligation to provide funding beyond the ending date of the
       current budget period as shown in the [notice of award].

Gerardi Decl., Ex. B, U.S. Department of Health and Human Services, Grants Policy Statement,

at I-34 (emphasis added). The “Terms and Conditions” of the Grants Policy Statement further

reserves HHS’s broad discretion to deny a continuation award:

       An [operating division] may decide not to make a non-competing continuation award
       within the current competitive segment for one or more of the following reasons:

           • Adequate Federal funds are not available to support the project.
           • A recipient failed to show satisfactory progress in achieving the objectives of the
           project.
           • A recipient failed to meet the terms and conditions of a previous award.
           • For whatever reason, continued funding would not be in the best interests of the
           Federal government.

Id. at II-89 (emphasis added).

       Under the “project period” system, grants are “programmatically approved” for a period

of up to five years, “but are funded in annual increments called budget periods.” Id. at I-34.

Because continuation awards are not guaranteed, each year grantees must submit an “official

request to OAH for continued funding” known as a “non-competing continuation application.”

Gerardi Decl. Ex. C, U.S. Department of Health and Human Services, Office of Adolescent

Health, Guidance for Preparing a Non-Competing Continuation Grant Application, at 3 (Nov.



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2016).2 If HHS approves a grantee’s request for funding—whether an initial award or a

continuation award—the grantee receives a “Notice of Award” that includes the “[a]pproved

project period and budget period start and end dates,” and distinctly, the “[a]mount of Federal

funds authorized for obligation by the recipient” within the next “budget period” in response to

the grantee’s application for funding. Gerardi Decl., Ex. B at I-33.

        Decisions to deny continuation awards are appealable only when the grantee failed “to

meet the terms and conditions of a previous award,” which means that they are almost always

discretionary. Id. at II-89. If HHS makes a policy decision not to issue continuation awards, the

departmental appeals board “has no power to review” the decision, as such decisions “generally

are matters committed to the federal agency’s discretion.” In re Vance-Warren Comprehensive

Health Plan, Inc., DAB No. 2180, 2008 WL 2649498, at *1 (H.H.S. Dep’t App. Bd. June 18,

2008). And HHS’s current rules draw a sharp distinction between “terminations” of an award

(which can always be appealed) and decisions not to issue a continuation award (which can only

be appealed when the agency asserts the grantee has violated the terms of a previous award). 45

C.F.R. pt. 16, App’x A, at C(a)(2)-(3); 42 C.F.R. § 50.404(a)(1), (4).

                                        PROCEDURAL HISTORY

        Funding for the TPP Program was a subject of significant debate in the negotiations over

the FY 2018 budget. The President’s FY 2018 budget request, announced in May 2017,

recommended eliminating the program. See Gerardi Decl. Ex. D, U.S. Department of Health and

Human Services, 2018 Budget Request for General Departmental Management. The HHS

House appropriations bill would have declined to fund the program. H.R. 3358, 115th Cong.


2
  See also Gerardi Decl. Ex. B at I-16 (defining non-competing continuation application as “a request … for funding
the second or subsequent budget period within an approved competitive segment”); id. at B-3 (defining “competitive
segment” as “[t]he initial project period recommended for support (up to 5 years) or each extension of a project
period resulting from a competing continuation award”).

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(2017). In response, a number of members of Congress expressed their support for the program.

Gerardi Decl. Ex. E, Letter from 149 House Members to the Honorable Tom Price, M.D. (July

25, 2017); Gerardi Decl. Ex. F, Letter from 37 Senators to the Honorable Tom Price, M.D. (July

21, 2017). Disagreement over the future of the TPP Program was a contributing factor to the

larger budget impasse. See Gerardi Decl. Ex. G, Jennifer Haberkorn & Sarah Ferris, “Planned

Parenthood Defunding Threatens Government Spending Package,” Politico, Mar. 7, 2018 (noting

disagreement between Republicans and Democrats over riders that would “ax the Teen

Pregnancy Prevention Program”).

       With the fate of the TPP Program uncertain in Congress, and having further examined the

priorities and effects of previous awards under the program, HHS awarded FY 2017 funds to

Plaintiff in the summer of 2017, but announced it would not issue continuation awards for FY

2018. See, e.g., Realini Decl., Ex. C, Notice of Award for 2017-18, at 1. The agency announced

this change in interests and priorities publicly. Gerardi Decl. Ex. H, Press Release, U.S.

Department of Health and Human Services, Office of the Assistant Secretary for Health, “Teen

Pregnancy Prevention Program Facts,” (Aug. 28, 2017); Gerardi Decl. Ex. I, Letter from Barbara

Pisaro Clark, Acting Assistant Secretary of Legislation, U.S. Department of Health and Human

Services to Senator Patty Murray (Nov. 22, 2017). It also informed grantees of this decision in

July 2017 in the text of their awards for the 2017-18 “budget period,” which shortened the

“project period” of their awards to end on June 30, 2018. When Plaintiff accepted and began

drawing down their FY 2017 funds, they accepted the change in project period and the

underlying terms. Decl. of A. Michon Kretschmaier (“Kretschmaier Decl.”) ¶ 2.

       An initial group of nine plaintiffs challenged HHS’s decision in a series of four lawsuits

filed on February 15, 2018. In each suit, Defendant maintained, consistent with HHS’s prior



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practice, that the agency would need two months of lead time in order to process continuation

applications. Id. ¶ 3. Accordingly, plaintiffs agreed to briefing schedules that permitted the

Court to enter judgment with sufficient time for HHS to process continuation applications and

issue awards, if warranted, in accordance with previous practice. Id. ¶ 4. In three of the cases,

district courts have ruled in the plaintiffs’ favor and have ordered HHS to process the

continuation applications of these grantees in accordance with HHS’s usual practice. Policy &

Research, LLC v. Dep’t of Health & Human Servs., No. 18-cv-346-KBJ, 2018 WL 2184449

(D.D.C. May 11, 2018); Planned Parenthood of Greater Wash. & N. Idaho v. U.S. Dep’t of

Health & Human Servs. (“PPGWNI”), No. 2:18-cv-00055-TOR, 2018 WL 1934070 (E.D.

Wash. Apr. 24, 2018); Healthy Teen Network v. Azar, Civil Action No. CCB-18-468, 2018 WL

1942171 (D. Md. Apr. 25, 2018). A fourth suit remains pending. King Cty. v. Azar, No. 2:18-

cv-00242-JCC (W.D. Wash., filed Feb. 15, 2018). On April 20, HHS announced a recompetition

of TPP Program funds, which will permit the agency to award funds under the program on a

competitive basis, to the extent that funds remain available after compliance with the judicial

orders described above; the agency intends to do so by the end of the fiscal year on September

30, 2018, as required by law.3 Plaintiff filed this suit on April 27, 2018, seventy-three days after

the initial wave of grantees filed suit, and nearly ten months after it learned in July 2017 of

HHS’s decision not to award it continuation funding.




3
  See Gerardi Decl., Ex. J, Department of Health and Human Services, Office of Adolescent Health, Office of the
Assistant Secretary for Health, “Announcement of Availability of Funds for Phase I Replicating Programs (Tier 1)
Effective in the Promotion of Healthy Adolescence and the Reduction of Teen Pregnancy and Associated Risk
Behaviors”; Gerardi Decl., Ex. K, Department of Health and Human Services, Office of Adolescent Health, Office
of the Assistant Secretary for Health, “Announcement of Availability of Funds for Phase I New and Innovative
Strategies (Tier 2) to Prevent Teenage Pregnancy and Promote Healthy Adolescence.”

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                                    STANDARD OF REVIEW

        Plaintiff seeks expedited summary judgment, and Defendants have cross-moved for

summary judgment or to dismiss in the alternative. Judgment under Civil Rule 56 is appropriate

if the moving party “shows that there is no genuine dispute as to any material fact and [that it] is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Judgment under Civil Rules

12(b)(1) or 12(b)(6) is appropriate if, assuming the truth of all well-pleaded factual allegations in

the complaint, Plaintiff has failed either to establish this Court’s jurisdiction or to state a claim

upon which relief can be granted. “Where, as here, a defendant maintains that the case should be

terminated either for defective pleadings or because there is no genuine issue of material fact to

be presented to a jury, the court may review the parties' arguments with respect to both of those

grounds to determine the extent to which the motion can be sustained.” Rochon v. Lynch, 139 F.

Supp. 3d 394, 400 (D.D.C. 2015), aff’d, 664 F. App’x 8 (D.C. Cir. 2016).

                                            ARGUMENT

        I.      Plaintiff’s Claim Is Barred by Laches

        Plaintiff seeks remedies that “are equitable in nature,” and as such, “[t]he defense of

laches [can] be asserted if the Government is prejudiced by a delay.” Abbott Labs. v. Gardner,

387 U.S. 136, 155 (1967) (discussing applicability of equitable defenses in APA cases),

abrogated on other grounds, Califano v. Sanders, 430 U.S. 99 (1977). An otherwise-meritorious

claim may be barred by laches, even when it falls within the statute of limitations, “if two

requirements are met: (1) unreasonable delay in bringing the claim for relief and (2) prejudice

caused by that delay.” Indep. Bankers Ass’n of Am. v. Heimann, 627 F.2d 486, 488 (D.C. Cir.

1980). This defense “does not depend solely on the time that has elapsed between the alleged

wrong and the institution of suit; it is ‘principally a question of the inequity of permitting the


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claim to be enforced—an inequity founded upon some change in the condition or relations of the

property or the parties.’” Gull Airborne Instruments, Inc. v. Weinberger, 694 F.2d 838, 843

(D.C. Cir. 1982) (quoting Galliher v. Cadwell, 145 U.S. 368, 373 (1892)). In addition to

encouraging litigants to bring claims “when courts are in the best position to resolve disputes,”

laches prevents plaintiffs from “gain[ing] the unfair advantage of hindsight, while defendants

suffer the disadvantage of an uncertain future outcome.” NAACP v. NAACP Legal Def. & Educ.

Fund, Inc., 753 F.2d 131, 137 (D.C. Cir. 1985). Those goals would be defeated if Plaintiff’s

claim were allowed to move forward, and so a finding of laches is required here.

       Plaintiff’s delay in bringing this claim was unreasonable given the factual circumstances

of the TPP Program. The laches inquiry is a flexible one, and no fixed amount of delay is

required. “Whether the doctrine bars an action in a particular case depends upon the

circumstances of that case.” Gull Airborne, 694 F.2d at 843; see also Kay v. Austin, 621 F.2d

809, 813 (6th Cir. 1980) (holding laches barred claim of plaintiff who “waited until nearly two

weeks after he knew the choice of the candidates would be made and further delayed eleven days

before filing suit”). And in the context of government grants and contracts, expedient assertion

of claims is vital. “Customarily, complaints about the solicitation and award of contracts …

must be quickly asserted and expeditiously resolved so that the contract can be awarded and the

job begun.” LTMC/Dragonfly, Inc. v. Metro. Wash. Airports Auth., 699 F. Supp. 2d 281, 293

(D.D.C. 2010) (quoting Jones & Artis Constr. Co. v. D.C. Contract Appeals Bd., 549 A.2d 315,

319 (D.C. 1988)); Cook Cty. Legal Assistance Found., Inc. v. Pauken, 573 F. Supp. 231, 233

(N.D. Ill. 1983) (plaintiff’s challenge to denial of funding as VISTA sponsor under the APA

barred by laches after two-year delay in assertion); Birmingham Realty Co. v. Gen. Servs.




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Admin., 497 F. Supp. 1377, 1390-91) (N.D. Ala. 1980) (two-month delay sufficient for a laches

defense in a bid protest case).

       In Dragonfly, this Court held that a delay of eighteen months in filing a lawsuit to

challenge a three-year contract award was sufficient to satisfy the “delay” prong of the laches

inquiry, even though the plaintiff spent much of that time pursuing administrative bid protest

procedures. The Court concluded that given the nature of government contracting, “equity

dictates in such circumstances that a bidder seeking to pursue further remedies do so in a

reasonably expeditious manner.” Dragonfly, 699 F. Supp. 2d at 293. Likewise, the Plaintiff’s

delay in filing suit was unreasonable in the context of the decision at issue here. The relevant

timeframe for assertion of rights is even shorter because agencies must make plans to spend

appropriated money before the fiscal year ends and engage in the planning and review such

spending entails. Plaintiff acknowledges that the action resulting in its alleged harm was the

Notice of Award it received in early July of 2017. Realini Decl. ¶¶ 8-9. That announcement was

made ten months ago. Even after grantees began filing lawsuits to challenge HHS’s decision,

Plaintiff (and the putative class it represents) waited another two-and-a-half months before

seeking to assert its rights. That is not “reasonably expeditious” behavior.

       More importantly, allowing Plaintiffs’ claim to go forward would unfairly prejudice

HHS. When a litigant “create[s] an impression of acquiescence that has led others to make

substantial financial commitments,” laches should apply to defeat the claim. Heimann, 627 F.2d

at 488. Although Plaintiff was aware of HHS’s decision for nearly ten months prior to filing

suit, and even submitted a letter to the agency regarding HHS’s action in August of 2017, it gives

no justification as to why it waited so long to assert its rights. Meanwhile, HHS spent a year




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analyzing the TPP Program and developing a new approach to the program at a cost to the

agency of millions of dollars and many hours of staff time. Kretschmaier Decl. ¶ 5.

       On April 20, 2018 HHS posted two new funding opportunity announcements to inform

the public of this new approach and invite competitive grant applications for the funding at issue,

with applications due June 29, 2018. Kretschmaier Decl. ¶ 6. Had the agency waited any longer

to initiate the recompetition, it would have difficulty meeting its legal obligation of spending

TPP Program funds by September 30, 2018, while adequately performing the review necessary

to ensure applicants’ proposals will serve the goals of the grant program. Id. These efforts are

further complicated by the agency’s need to process continuation applications at the same time it

is reviewing competitive grant applications, when it would normally be engaged in only one of

the two activities. Id. ¶ 7. Plaintiff’s requested relief interferes with the recompetition by

reducing the funds available to the agency to award to new grantees and diminishing HHS’s

investment in reviewing and redesigning the TPP Program. Id. ¶ 9.

       In addition to the agency’s own efforts to set up the recompetition, members of the public

can reasonably be expected to commit resources to participate in that recompetition.

Kretschmaier Decl. ¶ 8. Preparatory work for drafting a grant proposal is a significant

undertaking that often includes devising a skeletal plan for a project, contacting potential

partners and obtaining memorandums of understanding from them, meeting with school

principals and curriculum coordinators in the communities they wish to serve, and selecting a

project evaluator. Id. On May 9, more than 800 entities participated in a webinar to learn more

about the grant-writing process, a significant increase from the approximately 500 entities that

participated in a similar webinar hosted in 2015. Id.




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         With no evidence of Plaintiff’s intent to challenge the legality of HHS’s action in court,

and the deadline for making arrangements to obligate TPP Program funds fast approaching, HHS

“ha[d] good reason to believe that the alleged rights … [had] been abandoned” and was within its

rights to offer them to the public in the new funding opportunity announcement. Mahan v. Tash,

703 F. Supp. 130, 132 (D.D.C. 1989) (quoting Am. Univ. Park Citizens Ass’n v. Burka, 400 A.2d

737, 742 (D.C.1979)). The resources expended to launch the recompetition and the reliance of

the public on that recompetition dictate dismissal of Plaintiff’s claim on laches grounds.

         II.    Plaintiff’s Claim Fails on the Merits

         In its Policy & Research decision, this Court correctly recognized that HHS’s decisions

regarding the allocation of funding under discretionary grant programs, such as the TPP

Program, are presumptively committed to agency discretion and not subject to judicial review.

Policy & Research, 2018 WL 2184449, at *7-8. It also recognized that HHS had limited its

discretion to terminate individual grants by regulation. Id. *8. This Court erred, however, in

concluding that HHS engaged in a termination by announcing that it would recompete the entire

program. By concluding that a program-wide recompetition was a termination under 45 C.F.R.

§ 75.2, the Court effectively eliminated HHS’s discretion to withhold further continuing funding

within a “project period.” This holding would mean that HHS must go through its termination

procedures to make program-wide changes in administering grants in the program, even where

the agency seeks to respond to new advances in scientific knowledge, or to make policy changes

within the permissible scope of its statutory authorization. The regulations do not require this

result. HHS is entitled to judgment as a matter of law on Plaintiff’s claim, and so the Court

should deny Plaintiff’s motion and grant Defendants’ motion for at least the reasons set forth

below.


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                 A. The ADA and Leiter Preclude Agreements Purporting to Obligate the
                    Government For More Than One Fiscal Year

        Plaintiff contends that the TPP Program guarantees it funding over a five-year period.

HHS never made any such guarantee. Nor could it have, since the program is funded on an

annual basis, and the Anti-Deficiency Act forbids the agency from committing funds for future

years. Because Congress has not exempted the TPP Program from the ADA or otherwise

permitted HHS to make multi-year obligations in this context, Leiter v. United States, 271 U.S.

204, 206 (1926), is controlling. See also Gov’t Sys. Advisors, Inc. v. United States, 13 Cl. Ct.

470, 473 (1987) (explaining that the government chose not to renew the lease at issue in Leiter

because it “determined that it was in government’s best interest not to renew”), aff’d, 847 F.2d

811 (Fed. Cir. 1988). Leiter requires the government make a new decision to “affirmatively

continue” the grant agreement in each year that a new appropriation is provide.

        It is no answer to Leiter that HHS retains the right to terminate the grant based on the

grantee’s failure to comply with the terms and conditions of the grant; this does not suffice under

Leiter, as that case holds that the ADA is satisfied only if the government reserves the right to

“affirmatively continue” the agreement or not in each new year. Leiter, 271 U.S. at 207; see also

2 GAO Principles of Federal Appropriations Law (“GAO Red Book”), 4 at 6-54, GAO-06-382SP

(3rd ed. 2015), available at https://www.gao.gov/legal/red-book/overview (“The reservation of a

right to terminate does not save the contract from the prohibition against binding the government

in advance of appropriations.”); Comptroller Gen. Warren To The Postmaster Gen’l, 28 Comp.



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  The Congressional Budget and Impoundment Control Act of 1974, Pub. L. No. 93–344, § 801(a), 88 Stat. 297, 327
(1974), gives the Government Accountability Office (GAO) specific oversight duties on budgetary matters. See
generally 31 U.S.C. § 1112(c). GAO publishes the GAO Red Book to advise the public of its views on
appropriations law. “Although GAO decisions are not binding, [courts] ‘give special weight to [GAO's] opinions'
due to its ‘accumulated experience and expertise in the field of government appropriations.’” Nevada v. Dep't of
Energy, 400 F.3d 9, 16 (D.C. Cir. 2005) (quoting Int’l Union, United Auto., Aerospace & Agric. Implement Workers
v. Donovan, 746 F.2d 855, 861 (D.C. Cir. 1984)).

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Gen. 553 (1949) (concluding thirty-day notice and one-day “for-cause” termination provisions

did not cure an ADA violation). And Leiter specifically rejected the idea that conditioning future

funding on appropriations was sufficient to ensure ADA compliance. Leiter, 271 U.S. at 206-07;

see also 2 GAO Red Book at 6-55. HHS has not yet taken an “affirmative action” under the

authority of the FY 2018 appropriation necessary to require payment by the government; instead,

it will obligate the funds after a new competition.

       As Leiter shows, one of the goals of the ADA is to prevent government agencies from

entering arrangements that take away the government’s ability to control whether an obligation

will occur against funds that Congress has yet to appropriate. Plaintiff’s interpretation of the

relevant regulations significantly curtails this discretion by leaving agency officials at the mercy

of discretionary decisions made years before current appropriations. Those choices are not

mandated by statute or regulation, but under Plaintiff’s theory, Defendant must accede to them

because the only grounds for breaking off the relationship are tied to Plaintiff’s conduct as

grantees. The ADA would be scant protection, indeed, if it was satisfied by an agency’s

automatic conferral of grant funding upon passage of a new appropriation absent grounds for

termination or a lapse in appropriations.

       In Policy & Research, this Court recognized the ADA’s applicability, but held it was

satisfied by continuing applications and progress reports submitted by the grantees over the

course of the “budget period.” Policy & Research, 2018 WL 2184449, at *11. This Court

effectively required HHS to renew funding unless the individual grantee has provided grounds

for termination or funding lapses. Neither of these conditions satisfies Leiter’s requirement that

the government “affirmatively continue” the relationship each year. See Goodyear Tire &

Rubber Co. v. United States, 276 U.S. 287, 293 (1928) (“Not having affirmatively continued the



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lease beyond the actual period of occupancy, the Government cannot, under the doctrine of the

Leiter Case, be bound for a longer term.”); Leiter, 271 U.S. at 207; Cray Research, Inc. v. United

States, 44 Fed. Cl. 327, 332 (1999) (“Each renewal option must be . . . exercised only by the

government’s affirmative action.”); 2 GAO Red Book at 6-54, (“The reservation of a right to

terminate does not save the contract from the prohibition against binding the government in

advance of appropriations.”).

       HHS’s discretion over continuation funding is fully consistent both with the nature of

research grant funding in general and the TPP Program appropriation in particular, even given

the Court’s observations that the nature of the appropriation requires multi-year funding

commitments. Appropriations are presumed to be “for the [fiscal] year” at issue unless Congress

explicitly provides otherwise. 1 U.S.C. § 105; see also 41 U.S.C. § 3903(b) (authorizing, in the

procurement context, “multiyear contract[s] for the acquisition of property or services” by a

federal agency); 1 GAO Red Book at 5-4 through 5-7 (discussing presumption of “annual

appropriations” in the absence of congressional guidance to the contrary). HHS does not have

“multi-year” budget authority with respect to the TPP Program because the appropriation does

not give HHS the authority to create binding obligations that last beyond the current fiscal year,

unlike the statute at issue in the GAO decision the Court relied upon. The Honorable Alan

Cranston, B-239435, 1990 WL 10007871, at *2 (Comp. Gen. Aug. 24, 1990) (addressing statute,

38 U.S.C. § 30, giving the Department of Veterans Affairs authority to “enter into a lease … for

not more than 35 years”). The “project period” structure allows HHS to run long-term research

from annual appropriations to serve the public’ interest in such projects, but nothing in the TPP

Program appropriation mandates funding for any particular term of years, and the statute is

consistent with a system in which agency officials retain discretion to decide whether to maintain



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current research projects or change course if a project is not working or no longer serves the

public interest. See Chevron U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 865

(1984) (“[A]n agency to which Congress has delegated policy-making responsibilities may …

properly rely upon the incumbent administration’s views of wise policy to inform its

judgments….”).

       Even taking into account the nature of the TPP Program, grantees accept money on a

year-to-year basis on the understanding that public research priorities can and do change, and the

government can always recompete funds if it concludes a particular program is not serving the

public interest. Plaintiff cannot twist that structure inside-out simply because current officials

have made a different judgment about the value of Plaintiff’s research. The Court should reject

the Plaintiff’s misreading of the controlling grant documents and interpret the HHS regulations

consistent with the proper legal backdrop.

               B. Defendant Has Not Terminated the Plaintiff’s Grants within the Meaning
                  of the Department’s Regulations

       As explained above, HHS has retained the discretion to consider, with each new annual

appropriation, whether to issue continuation awards to existing grantees or whether to hold new

competitions. Indeed, HHS must retain this discretion to comply with the Anti-Deficiency Act

as the Supreme Court has construed that statute in Leiter. Plaintiff contends, however, that HHS

committed to provide continuation funding by publishing regulations on terminating grants. This

is incorrect because the decision to end continuation funding is not a termination.

       “Termination” instead refers to the withholding of grant funding before “the planned end

of period of performance.” 45 C.F.R. § 75.2. A “period of performance” is “the time during

which the non-Federal entity may incur new obligations to carry out the work authorized under

the Federal award.” Id. And the only “time” period in the grant documents consistent with this


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definition is the “budget period.” Work is “authorized under the Federal award” on a “budget

period” basis, and the “time during which the non-Federal entity may incur new obligations to

carry out” that “work” is that same one-year “budget period.” Id. (defining “federal award,” as

relevant here, as “the instrument setting forth the terms and conditions” of the grant, such as the

“cooperative agreement”). Future “budget periods” within a “project period” are not “authorized

under the federal award” Plaintiff receives annually; they are projections of future funding that

will not be authorized until an appropriation is in place and HHS obligates those funds through a

NoA entered under the authority of that appropriation. Because HHS has not ended Plaintiff’s

funding in the middle of a “budget period,” there has been no “termination” here that would

trigger the requirements of 45 C.F.R. § 75.372-73.

       The Healthy Teen court held that “grantees may commit funding beyond their current

budget period” because the regulatory definition of “obligation” contemplates “transactions

during a given period that require payment by the non-Federal entity during the same or a future

period.” Healthy Teen, 2018 WL 1942171, at *5. That too is incorrect. A grantee can make an

obligation during a budget period, which is paid using funds for that budget period, even if the

payment is made in a future budget period. But the grantee cannot make an obligation during the

current budget period that relies upon funds from a future budget period, as neither funding nor

work for the future period has been authorized through an NoA. Yet that is precisely what

Healthy Teen would permit.

       In Policy & Research, this Court’s interpretation of the term “period of performance”

relied heavily on the regulatory definition of “project period,” which references the regulatory

definition of “period of performance.” See 45 C.F.R. § 75.2 (“project period, see period of

performance.”); Policy & Research, 2018 WL 2184449, at *8-9. The Healthy Teen and



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PPGWNI courts adopted similar interpretations. Healthy Teen, 2018 WL 1942171, at *5-7;

PPGWNI, 2018 WL 1934070, at *7. The “project period” cross-reference, however, cannot

override the plain language of the definition of “period of performance.” Otherwise, the

definition of “period of performance” would be surplusage.5

         Nor do the “closeout” procedures of 45 C.F.R. §§ 75.381 and 75.386 support Plaintiff’s

contentions. Under § 75.381, closeout is only required after “all applicable administrative

actions and all required work of the Federal award have been completed.” That is, closeout

obligations are triggered only when the current grant award ends, with no further work to

complete, and HHS makes no continuation award. If HHS makes a continuation award, then a

new budget period starts, grant funds are awarded, the project continues, and closeout is

unnecessary (as “all required work” is incomplete).

         HHS’s regulations for managing noncompliant or otherwise problematic grantees, 45

C.F.R. §§ 75.371 & 75.207, do not support Plaintiff’s position either. They do not address

renewals of continuation funding or limit the circumstances under which HHS may withhold

continuation awards. Section 75.371, titled “Remedies for Noncompliance,” lists actions that an

agency may take when a grantee does not adhere to “Federal statutes, regulations, or the terms

and conditions of a Federal award.” Id. It does not speak to or constrain HHS’s discretion to

issue or not issue a continuation award, a power specifically recognized by the Grants Policy

Statement.

         Section 75.207 authorizes HHS to add “specific award conditions” when: (1) an awarding

agency’s risk assessment deems a grant applicant risky; (2) a grantee “has a history of failure to


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  Contrary to the Court’s holding, the absence of the term “budget period” in the regulations supports HHS’s
interpretation of “period of performance.” See Policy & Research, 2018 WL 2184449, at *11. It confirms that
HHS, in modifying its regulations, did not intend to alter its long-held readings of “project period” and “budget
period.”

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comply with the . . . terms and conditions of a Federal award”; (3) a grantee “fails to meet

expected performance goals”; or (4) a grantee “is not otherwise responsible.” § 75.207(a). It

then provides a non-exclusive list of conditions that may be imposed under such circumstances,

including “[w]ithholding authority to proceed to the next phase until receipt of evidence of

acceptable performance within a given period of performance.” § 75.207(b)(2). Nothing in

§ 75.207 addresses the agency’s discretion to renew or not renew grant funding, and it does not

purport to limit the circumstances under which HHS may exercise such discretion. The

proposition that regulations supersede conflicting policy statements—see PPGWNI, 2018 WL

1934070, at *3—is irrelevant.

       HHS has long understood that withholding funding for remaining, future years of a

“project period” is not a “termination.” This approach is supported by other regulations that

were left unchanged in HHS’s 2014 revisions to its grant administration guidelines, as well as

HHS’s standard terms and conditions for grant awards, which were last revised in 2007. See 45

C.F.R. pt. 16, App’x A, at C(a)(2)-(3) (stating jurisdiction of HHS’s departmental appeals board,

which distinguishes “termination” from the denial of a non-competing continuation award within

a project period); 42 C.F.R. § 50.404(a)(1), (4) (same); In re Nw. Rural Opportunities, Inc., DAB

324, 1982 WL 189564, at *1 & n.1 (1982) (discussing changes to regulations regarding

termination made in response to Southern Mutual Help Association v. Califano, 574 F.2d 518,

526 (D.C. Cir. 1977)); Gerardi Decl., Ex. B, I-33 through I-34, I-89 through I-90. When HHS

promulgated the modern regulations at issue in 2014, it dispensed with notice and comment

rulemaking for changes such as the definition of “project period” because these changes “already

exist[ed] in codified regulations … and thus are currently applicable to HHS grantees. As such,

all HHS grantees should already be in compliance with these provisions. … [N]o changes on the



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part of grantees are expected.” Federal Awarding Agency Regulatory Implementation of Office

of Management and Budget’s Uniform Administrative Requirements, Cost Principles, and Audit

Requirements for Federal Awards, 79 Fed. Reg. 75,871, 75,875 (Dec. 19, 2014). The regulatory

linkages relied upon by Plaintiff were not intended to changes grantees’ relationship with HHS,

and HHS did not even revise its standard grant terms and conditions in light of these regulatory

changes. But the Court’s interpretation of the regulations would transform them into a major

substantive revision of the terms of all HHS grant instruments. That result must be rejected.

               C. The Terms of the Grant Awards Support Defendants’ Position

       This Court in Policy & Research relied on statements made in funding opportunity

announcements for the TPP Program as well as other informal guidance. Policy & Research,

2018 WL 2184449, at *10-11. But these arguments run afoul of the actual terms of the grant

award that each grantee accedes to when it draws down grant funding. Each Notice of Award

states that future budget period years within a project period are “projections” based on the

agency’s present intentions. Authorization for future years of work within a “project period”

would require, at a minimum, submission of a continuation application, an appropriation by

Congress of the necessary funds, and the execution of a new Notice of Award that obligates the

necessary funds and permits the Plaintiff to continue its work. Statements in the funding

opportunity announcements and other informal agency guidance relied upon by Plaintiff and the

Court, PPGWNI, 2018 WL 1934070, at *7 n.3, must be read in light of the regulations and the

grant terms and conditions Plaintiff actually accepted when it drew down funding. The funding

opportunity announcements themselves state this to grantees up front. Gerardi Decl., Ex. A, at

68. In any event, statements about a “period of performance” and “project period” of “up to five

years,” or a “five-year funding period,” track HHS’s longstanding position that grantees have no

guarantee of funding through the end of the “project period.”

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       Moreover, even if these statements could bind the government (they cannot), they must

be read in harmony with the ADA and guidance provided by the agency. This includes the

Grants Policy Statement (“GPS”) referenced in the funding opportunity announcements and

incorporated into the award notices, which provides that the “projections of future funding

levels” during a “project period” “are not guarantees that the project or program will be funded

or will be funded at those levels” and “create no legal obligation to provide funding beyond the

ending date of the current budget period as shown in the NoA.” Gerardi Decl., Ex. B, at I-34.

HHS can choose to compete a grantee’s funds instead of renewing continuing support if it

concludes, “[f]or whatever reason, continued funding would not be in the best interests of the

Federal government.” Id. at II-89. That choice is different in kind from a “termination,” which

is treated separately in the GPS and the regulations. Id. at II-89, II-90; see also 45 C.F.R. pt. 16,

App’x A, at C(a)(2)-(3); 42 C.F.R. § 50.404(a)(1), (4). Plaintiff accepted these provisions when

it drew down funding and cannot ignore them when categorizing Defendants’ representations

about the terms and conditions of the grant.

               D. Because No Grant Was “Terminated,” Plaintiff’s APA Claim Fails

       Decisions on how to allocate funds in a grant program, such as the decision whether to

issue continuing grant awards or recompete a grant program, are presumptively “committed to

the agency’s discretion by law” under 5 U.S.C. § 701(a)(2). Lincoln v. Vigil, 508 U.S. 182, 192-

93 (1990); Milk Train, Inc. v. Veneman, 310 F.3d 747, 752 (D.C. Cir. 2002) (holding, under

Lincoln, that an agency’s choice between different options for allocating moneys for economic

losses under a farm subsidy program were presumptively unreviewable under § 701(a)(2) and

Lincoln). Although the Court in Policy & Research did not accept Defendants’ argument

regarding “termination” (which, as explained above, was error), the Court correctly framed the

dispute as a question of whether or not HHS had circumscribed its own discretion by regulating

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the conditions under which a non-competing continuation award could be withheld. Policy &

Research, 2018 WL 2184449, at *7-8. And, aside from “termination,” no grantee has identified

a manageable standard for judicial review of HHS’s decisions over whether to compete grant

funds or issue awards on a continuation basis. As such, HHS’s decision with respect to

Plaintiff’s grant was “committed to agency discretion as a matter of law” and not subject to this

Court’s review.

                                         CONCLUSION

       For these reasons, the Court should deny Plaintiff’s motion, grant Defendants’ cross-

motion, and dismiss Plaintiff’s complaint with prejudice or, in the alternative, enter judgment in

HHS’s favor on Plaintiffs’ claims.



        Dated: May 18, 2018                       Respectfully submitted,

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